                 Case 2:14-cr-00210-JAM Document 44 Filed 04/13/15 Page 1 of 3


     DAVID D. FISCHER (SBN 224900)
 1   LAW OFFICES OF DAVID D. FISCHER, APC
     1007 7th Street, Suite 100
 2
     Sacramento, CA. 95814
 3   Tel. (916) 447-8600
     Fax (916) 930-6482
 4   E-Mail: davefischer@yahoo.com
 5
     Attorney for Defendant
     MICHAEL WRIGHT
 6

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       )       No. 2:14-CR-00210 JAM
                                                     )
11
                                                     )       STIPULATION REGARDING
            Plaintiff,                               )       EXCLUDABLE TIME PERIODS UNDER
12
                                                     )       SPEEDY TRIAL ACT;
     v.                                              )       FINDINGS AND
13
                                                     )       ORDER
     JAMES CLINE, et. al.,                           )
14
                                                     )
                                                     )
15          Defendants.                              )
                                                     )
16
                                                     )
                                                     )
17
                                                     )
                                                     )
18
                                                     )
                                                     )
19
                                                     )
                                                     )
20
                                                     )
21

22
                                         STIPULATION
23          Plaintiff United States of America, by and through its counsel of record, and the

24   defendants, by and through each counsel of record, hereby stipulate as follows:
25
            1.      By previous order, this matter was set for status on April 14, 2015, at 9:15 a.m.
26
            2.      By this stipulation, the defendants now move to continue the status conference
27

28
     until May 12, 2015, at 9:15 a.m., and to exclude time between April 14, 2015, and May 12, 2015,



                                                         1
                 Case 2:14-cr-00210-JAM Document 44 Filed 04/13/15 Page 2 of 3


     under Local Code T4. Plaintiff does not oppose this request.
 1

 2          3.      The parties agree and stipulate, and request that the Court find the following:

 3          a.      The government has represented that the discovery associated with this case so far
 4
     includes approximately 125 pages of investigative reports and 4 CDs of recorded meetings and
 5
     has provided discovery to the defense.
 6

 7
            b.      Counsel for all of the defendants desires additional time to consult with their

 8   respective clients, to review the current charges, to conduct investigation and research related to
 9   the charges, to review and copy discovery for this matter, to discuss potential resolutions with
10
     their clients, to prepare pretrial motions, and to otherwise prepare for trial.
11
            c.      Counsel for the defendants believe that failure to grant the above-requested
12

13   continuance would deny them the reasonable time necessary for effective preparation, taking into

14   account the exercise of due diligence.
15
            d.      The government does not object to the continuance.
16
            e.      Based on the above-stated findings, the ends of justice served by continuing the
17
     case as requested outweigh the interest of the public and the defendants in a trial within the
18

19   original date prescribed by the Speedy Trial Act.

20          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
21
     et seq., within which trial must commence, the time period of April 14, 2015, and May 12, 2015,
22
     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
23
     because it results from a continuance granted by the Court at defendants’ request on the basis of
24

25   the Court's finding that the ends of justice served by taking such action outweigh the best interest

26   of the public and the defendants in a speedy trial.
27
            4.      Nothing in this stipulation and order shall preclude a finding that other provisions
28




                                                        2
              Case 2:14-cr-00210-JAM Document 44 Filed 04/13/15 Page 3 of 3


     of the Speedy Trial Act dictate that additional time periods are excludable from the period within
 1

 2   which a trial must commence.

 3

 4
     IT IS SO STIPULATED.
 5
     Dated: April 10, 2015                                       U.S. ATTORNEY
 6

 7
                                                         by:     /s/ David D. Fischer for
                                                                 JASON HITT
 8                                                               Assistant U.S. Attorney
                                                                 Attorney for Plaintiff
 9

10
     Dated: April 10, 2015                                       /s/ David D. Fischer
11                                                               DAVID D. FISCHER
                                                                 Attorney for Defendant
12
                                                                 MICHAEL WRIGHT
13
     Dated: April 10, 2015                                       /s/ David D. Fischer
14                                                               JENNIFER NOBLE
                                                                 Attorney for Defendant
15
                                                                 LEONARD WALTER
16
     Dated: April 10, 2015                                       /s/ David D. Fischer for
17                                                               DANNY D. BRACE, JR.
                                                                 Attorney for Defendant
18
                                                                 JAMES CLINE
19

20
                                                ORDER
21

22

23
     IT IS SO FOUND AND ORDERED this 10th day of April, 2015.
24

25

26                                                /s/ John A. Mendez____________
                                                  HON. JOHN A. MENDEZ
27
                                                  U.S. DISTRICT COURT JUDGE
28




                                                     3
